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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  HOT SPRINGS DIVISION


    JAMIE GLEN FINLEY                                                              PLAINTIFF

    v.                           Civil No. 6:23-CV-06110-SOH-BAB

    OFFICER W. SMITH,
    B. ROSBURG,
    SHERIFF MIKE McCORMICK (Garland
    County, AR),
    CAPTAIN JOEL WARE,
    CAPTAIN COSGROVE,
    D. DUNN,
    CORPORAL JONES,
    DEPUTY MASON,
    SERGEANT GATES
    DEPUTY HORNE
    CHIEF S. ELROD,
    TURNKEY MEDICAL COMPANY,
    LT. A. MANN,
    CHAPLAIN GREEN,
    H. DARLENA,
    LT. SOWELL,
    LT. McFEE,
    J. WALLER,
    KITCHEN ADMIN. HUND HAUSEN,
    C. PARRISH,
    TURNKEY DENTAL STAFF,
    DEPUTY BARNETT,
    LT. ANSLEY,
    SGT. BARGETTE                                                              DEFENDANTS

                                             ORDER

          The case is before the Court for preservice screening pursuant to 28 U.S.C. § 1915A. 1
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Under § 1915A, the Court is required to screen any complaint in which a prisoner seeks redress

from a governmental entity or officer or employee of a governmental entity. 28 U.S.C. § 1915A(a).



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    Enacted as part of the Prison Litigation Reform Act (“PLRA”).
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       Plaintiff filed his Complaint on November 2, 2023. (ECF No. 1). That same day, the Court

entered an Order directing Plaintiff to submit an Amended Complaint to address deficiencies in

his Complaint. (ECF No. 3). Plaintiff did so on November 27, 2023. (ECF No. 6). Subsequently,

the Court entered three more Orders directing Plaintiff to submit an Amended Complaint to

address deficiencies in his Amended Complaints. (ECF Nos. 7, 10, 19). Mail sent to Plaintiff was

also returned a undeliverable several times. (ECF Nos. 8, 11, 12). Plaintiff’s Third Amended

Complaint was submitted on February 9, 2024. (ECF No. 21).

       In his Third Amended Complaint, Plaintiff has named 24 Defendants and has raised at least

three claims covering a wide variety of issues which he alleges occurred on different dates and

locations. (ECF No. 21). The Complaint topics include, but are not limited to, illegal search and

seizure prior to incarceration, excessive force on arrest, failure to protect from other inmates,

failure to provide cell-side religious services, theft of personal items, retaliatory disciplinary

charges, failure to process grievances, excessive force by jail staff, failure to supervise jail staff,

and failure to provide kosher meals. (Id.).

       The numerous allegations raised in Plaintiff’s Third Amended Complaint are factually and

legally unrelated, and thus, unsuited for joinder in a single lawsuit. See Fed. R. Civ. P. 20(a)(2)

(providing that multiple defendants may be joined in one lawsuit only if the claims against them

arise “out of the same transaction, occurrence, or series of transactions and occurrences” and

involve a “question of law or fact” that is “common to all defendants”); Fed. R. Civ. P. 21 (allowing

a court to sever unrelated claims); Bailey v. Doe; No. 11-2410, 2011 WL 5061542 (8th Cir. Oct.

26, 2011) (unpublished opinion) (holding a prisoner cannot defeat the filing fee requirements in §

1915 by joining unrelated and legally distinct claims into one lawsuit, severing a prisoner's

complaint into three separate actions, and requiring the prisoner to pay three separate filing fees).



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       If he so chooses, Plaintiff may cure these deficiencies by filing a Fourth Amended

Complaint within thirty (30) days of the date of this Order. Plaintiff is reminded an Amended

Complaint will render his original Complaint and all prior Amended Complaints without legal

effect. Only facts and defendants mentioned in the Fourth Amended Complaint will be considered.

Therefore, Plaintiff’s Fourth Amended Complaint should include only one properly joined claim,

and otherwise plead a plausible claim for relief. If Plaintiff does not do so, I will only screen his

first properly joined claim and summarily recommend all other improperly joined claims be

dismissed without prejudice.

       The Clerk is DIRECTED to mail the Plaintiff a court-approved § 1983 form.

       Plaintiff is ADVISED that he must submit his Fourth Amended Complaint no later than

April 10, 2024.


       IT IS SO ORDERED this 11th day of March 2024.

                                                      /s/   Barry A. Bryant
                                                      HON. BARRY A. BRYANT
                                                      UNITED STATES MAGISTRATE JUDGE




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